Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 1 of 38

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COMMANDING
Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 2 of 38
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IDENTIFICATION PURPOSES

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ANT ALTERATIONS IN SHAVED AREAS
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Case 1:21-Cf-QU0054-C
CERTIFICATE OF 1 RELEASE OR

VOCUMeNLTZ1-35 Filed Off Z6fZ2Z2 Fa

CSU oo
DISCHARGE FROM ACTIVE DU

1. NAME (Last, First, Middia)
ROBERTSON, THOMAS JARRETT

ARMY /USAR

2, DEPARTMENT, COMPONENT AND BRANCH

3. SOCIAL SECURITY NUMBER
225 | 06 0556

4a. GRADE, RATE OR RANK b. PAY GRADE

PFC E03 19730228

5. DATE OF BIRTH (YYYYMMDD)

6. RESERVE OBLIGATION TERMINATION DATE
(ONYMMOD): 565 aI0a07

7a. PLACE OF ENTRY INTO ACTIVE DUTY

FLOYD, VIRGINIA FLOYD

b. HOME OF RECORD AT TIME OF ENTRY (City and state, or complete address if known)

1886 WALNUT KNOB RD

VIRGINIA 24091-0000

8a. LAST DUTY ASSIGNMENT AND MAJOR COMMAND
CO E 787TH MP BN TR TC

b. STATION WHERE SEPARATED
FORT LEONARD WOOD, MO 65473-5000

9. COMMAND TO WHICH TRANSFERRED
304 MP CO CBT, 532 CUMBERLAND RD, BLUEFIELD WV

11. PRIMARY SPECIALTY (List number, title and years and months in
specialty. List additional specialty numbers and titles involving periods of
one or more years.)

31B10 MILITARY POLICE - 0 YRS 0 MOS//NOTHING
FOLLOWS

10. SGLI COVERAGE NONE

24701 AMOUNT: $100,000.00

12. RECORD OF SERVICE YEAR(S) MONTH(S) DAY(S)
a. DATE ENTERED AD THIS PERIOD 2006 03 22
b. SEPARATION DATE THIS PERIOD 2006 08 10
c. NET ACTIVE SERVICE THIS PERIOD 0000 04 19
d. TOTAL PRIOR ACTIVE SERVICE 0000 01 12
e. TOTAL PRIOR INACTIVE SERVICE 0000 00 14
f. FOREIGN SERVICE 0000 00 00
g. SEA SERVICE 0000 00 00
h. EFFECTIVE DATE OF PAY GRADE 2006 03 23

13. DECORATIONS, MEDALS, BADGES, CITATIONS AND CAMPAIGN

14. MILITARY EDUCATION (Course title, number of weeks, and month and

RIBBONS AWARDED OR AUTHORIZED (Ail periods of service) year completed)
ARMY SERVICE RIBBON//NOTHING FOLLOWS MILITARY POLICE, 19 WEEKS, 2006//NOTHING
FOLLOWS
15a. MEMBER CONTRIBUTED TO POST-VIETNAM ERA VETERANS’ EDUCATIONAL ASSISTANCE PROGRAM YES| x | NO
b. HIGH SCHOOL GRADUATE OR EQUIVALENT xX | Yes No
16. DAYS ACCRUED LEAVE 47. MEMBER WAS PROVIDED COMPLETE DENTAL EXAMINATION AND ALL APPROPRIATE YES | NO
PAID 0 DENTAL SERVICES AND TREATMENT WITHIN 90 DAYS PRIOR TO SEPARATION na | NA
18. REMARKS
MEMBER HAS COMPLETED FIRST FULL TERM OF SERVICE//NOTHING FOLLOWS
The information contained herein is subject to computer matching within the Department of Defense or with any other affected Federal or non-Federal agency for
verification purposes and to determine eligibility for, and/or continued compliance with, the requirements of a Federal benefit program.
19a. MAILING ADDRESS AFTER SEPARATION (Include Z/P Code) b. NEAREST RELATIVE (Name and address — include ZIP Code)
JULIEANN ROBERTSON
1886 WALNUT KNOB RD 1886 WALNUT KNOB RD
FLOYD VIRGINIA 24091-0000 FLOYD VIRGINIA 24091-0000
20. MEMBER REQUESTS COPY 6 BE SENT TO VA DIRECTOR OF VETERANS AFFAIRS | x | YES | | NO

21. SIGNATURE OF MEMBER BEING SEPARATED

YW) ten Ff

22. OFFICIAL AUTHORIZE

LEA ANN STARMER,

O SIGN (Typed name, grade, title and signature)

Any, St

HR SPECIALIST

ft

so9,

SPECIAL ADDITIONAL INFORMATION (For use by authorized agencies only)

23. TYPE OF SEPARATION 24. CHARACTER OF SERVICE (Include upgrades)
RELEASE FROM ACTIVE DUTY TRAINING HONORABLE

25. SEPARATION AUTHORITY 26. SEPARATION CODE 27. REENTRY CODE
AR 635-200, CHAP 4 MBK NA

28. NARRATIVE REASON FOR SEPARATION
COMPLETION OF REQUIRED ACTIVE SERVICE

29. DATES OF TIME LOST DURING THIS PERIOD (YYYYMMDD)
NONE

30. MEMBER REQUESTS COPY 4
(Initials)

DD FORM 214-AUTOMATED, FEB 2000

PREVIOUS EDITION IS OBSOLETE
” (GENERATED BY TRANSPROC

MEMBER - 4
Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 4 of 38
THIS IS TO CERTIFY THAT THE SECRETARY OF THE ARMY HAS AWARDED

THE ARMY ACHIEVEMENT MEDAL

PRIVATE FIRST CLASS THOMAS J. ROBERTSON
TO COMPANY E, 787TH MILITARY POLICE BATTALION

FOR OUTSTANDING ACHIEVEMENT ON BEING INDUCTED INTO THE 14TH MP BRIGADE WARRIOR HALL OF
FAME. YOUR SELECTION WAS BASED ON EXCEEDING STANDARDS IN WEAPONS QUALIFICATION, PHYSICAL
FITNESS, AND COMPLETING A 10K ROAD MARCH. YOUR PROFESSIONALISM REFLECTS GREAT CREDIT UPON
YOURSELF, THE MILITARY POLICE CORPS REGIMENT, AND THE UNITED STATES ARMY.

FROM 31 MARCH 2006 TO 10 AUGUST 2006

THIS 10™ DAY OF AUGUST 2006

meme D) tone

Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 5 of 38

PO# 222-3 dtd 10 August 2006

Headquarters, 787th MP Battalion ©)». RAMONA D. PLEMMONS
USAMANSCEN & FLW LTC, MP

Fort Leonard Wood, Missouri Commanding

AM 4980-18, NOV 97
Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 6 of 38
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Vv SNILATA WOO CNV SSANLIA-TVOISAHd ‘NOLLVOIAITVND SNOdVaM NI SGUVGNV.LS
SNIGAIOXA NO GASV4 SVM NOLLOATAS MNOA ‘AWVA JO TIVH UOIUUVM AGVOIUA

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GuVMV YOd NOSV4¥ ‘ZL
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NAME (Last, First, Middle Initial)
Robertson, Thomas'J.Case 1:21-cr-O0034-CRC Docume

| SSN
nt 121-3 Filed 07/28/235- 06-2525 2 of 22

PART IV - RECOMMENDATIONS/APPROVAL/DIS APPROVAL

22. | certify that this individual is eligible for an award in accordance with | 22a. S TURE sa! 22b. DATE (YYYYMMDD)
AR 600-8-22; and that the information contained in Part | is correct. (A AMALY) - Ca ASQ 2006 OY 10
23. INTERMEDIATE a. TO b. FROM c. DATE (YYYYMMDD)

AUTHORITY |

Commander, 787th MP BN

Commander, Co. E,.:787th MP BN,

d. RECOMMEND: [| appROVAL [ |pisapProva «|_|

UPGRADE

[| powNGRADE To: - |:

e. NAME (Last; First, Middle Initial)
Johnsoni,:‘Steven R.

f. RANK

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g. TITLE/POSITION
Company Commander

i. COMMENTS

h. SIGNATURE - T pets (epraty
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24, INTERMEDIATE” | a. TO b. FROM c. DATE (YYYYMMDD)
AUTHORITY

d. RECOMMEND: [~ | APPROVAL [|pisapprovat |__| UPGRADE To: [| pownerabe To:

e. NAME (Last, First, Middle Initial) ~ ‘et f. RANK *

g. TITLE/POSITION h. SIGNATURE

i. COMMENTS

25. INTERMEDIATE | a. TO b. FROM c. DATE (YYYYMMDD)
AUTHORITY pees

d. RECOMMEND: [| APPROVAL | |pisapprova. |__| UPGRADE TO: | DOWNGRADE TO:

e. NAME (Last, First, Middle Initial) f. RANK

g. TITLE/POSITION h. SIGNATURE

i. COMMENTS

26. APPROVAL a. TO b. FROM c. DATE (YYYYMMDD)
AUTHORITY Orders Issuing Authority, FLW, MO 65473 | Commander, 787th MP BN, FLW, MO
[| approveo [~ | pisapPpROVED [| RECOMMEND UPGRADE TO: [| DOWNGRADE TO:

é, NAME (Last, First, Middle Initial) *' f. RANK ois

Plemmons, Ramona D, _.LTC

g. TITLE/POSITION ance fy )

Battalion’ Commander. _ Oman A AW rr pgs!

U

i. COMMENTS

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PART V - ORDERS DATA

27a.-ORDERS ISSUING HQ

27b. PERMANENT ORDER NO.

31. DISTRIBUTION
1-INDIVIDUAL
1-ENLISTED RECORDS
1-UNIT.

HHD, '787th ‘MP: BN FTC _
Ft: Leonard Wood, MO 65473: FTC Ar 3
28a. NAME OF ORDERS APPROVAL AUTHORITY (Last, First, Middle initial) 28b: RANK

Harris, Mark K. SFC

1-ORDERS SET

28c: TITLE/POSITION He

Adjutant

29.!APPROVED AWARD

sas
Qo

AAM

28d, SIGNATURE:

Maus a Bae a9

30, DATE

AGO.

CO OSIO

DA FORM 638; APR 2006

‘Page 2 of 3:
APD v1.02;

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DEPARTMENT OF THE ARMY

THIS IS TO CERTIFY THAT THE SECRETARY OF THE ARMY HAS AWARDED

THE ARMY ACHIEVEMENT MEDAL

PRIVATE FIRST CLASS THOMAS J. ROBERTSON
COMPANY E, 787TH MILITARY POLICE BATTALION

FOR OUTSTANDING ACHIEVEMENT IN BEING SELECTED AS THE 14™ M. P. BRIGADE LEADERSHIP.
AWARD RECIPIENT FOR CLASS #12-06. YOUR SELECTION WAS BASED ON MILITARY APPEARANCE,
BEARING AND KNOWLEDGE OF MILITARY SUBJECTS. YOUR PROFESSIONALISM REFLECTS GREAT CREDIT
UPON YOURSELF, THE MILITARY POLICE CORPS REGIMENT, AND THE UNITED STATES ARMY.

TO

FROM 31 MARCH 2006 TO 10 AUGUST 2006

THIS 107 DAY OF AUGUST 2006

PO #_222-1 dtd 10 August_2006 9. \ Seed

Headquarters, 787th MP Battalion™). Ramona D. Plemméns
USAMANSCEN & FLW I LTC, MP
Fort Leonard Wood, Missouri Commanding

Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 9 of 38

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Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 10 of 38
Case 1:24; GteQPMadataboce nercutne becleeee te AWARR pa100 5 rhage. 11 of 38

For valor/heroism/wartime and all awards higher than MSM, refer to special instructions in Chapter 3, AR 600-8-22.

1.TO 2. FROM 3. DATE (YYYYMMDD)
Commander, 787th Military Police Battalion Commander, Company E, 787th MP BN 200 le? 10
Fort Leonard Wocd, MO 65473 Fort Leonard Wood, MO 65473
PART I - SOLDIER DATA
4. NAME (Last, First, Middle Initial) 5. RANK 6. SSN
Robertson, Thomas J. PFC XXX-XX-XXXX
7. ORGANIZATION 8, PREVIOUS AWARDS .
Company E, 787th Military Police Battalion AAM
Fort Leonard Wood, MO 65473
9. BRANCH OF SERVICE 10. RECOMMENDED AWARD 11. PERIOD OF AWARD
a. FROM (YYYYMMDD) |b. TO (YYYYMMDD)
Army Reserves AAM (1OLC) 20060331 200608 10
12. REASON FOR AWARD
12a. INDICATE REASON |12b.INTERIMAWARD | [yes [XX|NO |12c. POSTHUMOUS 13. PROPOSED PRESENTATION DATE
YYYYMMDD)
ACH IF YES, STATE AWARD GIVEN YES [ ] NO ( 20060810
PART II - RECOMMENDER DATA
14, NAME (Last, First, Middle Initial) 15. ADDRESS
Sirois, Bruce A. Company E, 787th Military Police Battalion
16. TITLE/POSITION 17. RANK Fort Leonard Wood, MO 65473
Company First Sergeant MSG
18. RELATIONSHIP TO AWARDEE 19, SIGNATURE
First Sergeant ke SC?)

PART Ill - JUSTIFICATION AND CITATION DATA (Use specific bullet examples of meritorious acts or service)

20. ACHIEVEMENTS

ACHIEVEMENT #1
PFC Robertson was selected by senior leadexs as the 14th Military Police Brigade Leadership Graduate for.Company E, 787th Military

Police Battalion. PFC Robertson has demonstrated dynamic leadership, initiative and overall performance which set him apart from his
peers. He,is a top performer with unlimited potential, always contributing 110% to team effort. Within a brief period of time PFC
Robertson demonstrated superior performance and attention to duty.

ACHIEVEMENT #2

ACHIEVEMENT #3

ACHIEVEMENT #4 | ‘ 4

‘21. PROPOSED CITATION
FOR OUTSTANDING ACHIEVEMENT IN BEING SELECTED AS THE 14TH MILITARY POLICE

BRIGADE LEADERSHIP GRADUATE OF COMPANY E, 787TH MILITARY POLICE BATTALION.
YOUR SELECTION WAS BASED ON YOUR OUTSTANDING QUALITIES OF LEADERSHIP BEST
EXPRESSING THE AMERICAN SPIRIT, HONOR, INITIATIVE, AND HIGH STANDARDS. YOUR
PROFESSIONALISM REFLECTS GREAT. CREDIT UPON YOURSELE, THE MILITARY POLICE
CORPS REGIMENT AND THE UNITED STATES ARMY.

DA FORM 638, APR 2006 ivi REPLACES DA FORM 638-1. Page 1 of 3:
PREVIOUS EDITIONS OF DA FORM 638 ARE OBSOLETE. APD v1.02,
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Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 13 of 38

is presented to

PRIVATE THOMAS ROBERTSON
COMPANY E, 787* MILITARY POLICE BATTALION

FOR OUTSTANDING ACHIEVEMENT DURING MILITARY POLICE ONE STATION UNIT TRAINING. ACHIEVING A SCORE
OF 50 OUT OF 50 ON THE 9MM MILITARY POLICE PISTOL QUALIFICATION COURSE DEMONSTRATES MOTIVATION
AND PROFESSIONALISM OF THE HIGHEST ORDER, AND REFLECTS GREAT CREDIT UPON YOU, YOUR UNIT ANJATHE

UNITED ST eee
GIVEN THIS 9T4 DAY OF AUGUST 2006 l g,
RAMONA D. PLEMMONS
787th Military Police Battalion ‘c.we

Battalion CSM

6 i Commandin
Fort Leonard Wood, Missouri :

FLW Form 1761-1 (Nov 99)

Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 14 of 38

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Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 15 of 38

is presented to

PRIVATE THOMAS J. ROBERTSON
COMPANY E, 787" MILITARY POLICE BATTALION

FOR OUTSTANDING ACHIEVEMENT DURING MILITARY POLICE ONE STATION UNIT TRAINING.
ACHIEVING A SCORE OF 36 OUT OF 40 ON THE M16A2 RIFLE QUALIFICATION COURSE REFLECTS
MOTIVATION AND PROFESSIONALISM OF THE HIGHEST ORDER, AND BRINGS GREAT CREDIT TO YOU,
Yo ANDgHE UNITED STATES ARMY.
8

GIVEN THIS 9th DAY OF AUGUST 2006

CSM, USAT 787th Militar, Y Police Kattalion LTC, MP_
- Fort Leonard Wood, Missouri

FLW Form 1761-1 (Nov 99)

Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 16 of 38

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sot MRR
Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 17 of 38

is awarded to

PFC THOMAS J. ROBERTSON

: IN RECOGNITION OF
HIS LEADERSHIP ABILITIES | ‘DISPLAYED DURING EACH PHASE OF
TRAINING WHICH HAS SET~ HIM ~ APART. FROM HIS PEERS AND
DISTINGUISHED HIM AS THE LEADI SHIP AWARD WINNER FOR CLASS
12-06, COMPANY E, 7874 MILITARY POLICE BATTALION, 1474 MP BRIGADE.
HIS EXEMPLARY PERFORMANCE REFLECTS DISTINCT. CREDIT UPON HIM,
_ THE MILITARY POLICE/CORPS REGIMENT, AND THE US ARMY.
me "ASSIST — PROTECT - DEFEND >

Gp

10 August 2006 eS DE
(_David E. Quantock
Colonel, U my

Commandant

FLW Form 1450 (June 99)

Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 18 of 38
Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 19 of som Dao

is awarded to

PRIVATE FIRST CLASS THOMAS J. ROBERTSON

COMP.

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bs IN RECOGNITION OF
SC = _
Exceptional achievement dew demonstrated. durtiie Military Poliee™ One Station Unit Training resulting

Physical fitness, warrior spirif, and-overall rformance.in all phases of training reflect distinct

credit upon him, the Military Police Corps, andthe United States Arty!

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10 August 2006 (| bun |, Sy y) yem~

CHARLES A. TENNISON
COL, MP
Commanding

W Form 1442 (May 99)

Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 20 of 38
Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 21 of 38

ls presented to
PRIVATE FIRST CLASS THOMAS J. ROBERTSON
COMPANY E, 787" MILITARY POLICE BATTALION

FOR EXCEPTIONAL ACHIEVEMENT IN OBTAINING A SCORE OF 285 ON THE ARMY PHYSICAL FITNESS TEST. THIS
ACHIEVEMENT DEMONSTRATES COMMITMENT TO DUTY, SELF-SACRIFICE AND DISCIPLINE, AND MAKES YOU AN
EXAMPLE FOR OTHERS TO EMULATE. YOUR OUTSTANDING PERFORMANCE REFLECTS GREAT CREDIT UPON YOU,
THE UNIT AND THE UNITED STATES ARMY.

GIVEN THIS 9" DAY OF August 2006

MELANIE S.

787th Military Police Battalion 32M
Fort Leonard Wood. Missouri

FLW Form 1761-1 (Nov 99)

Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 22 of 38

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Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 23 of38

Certificate of Appreciation [a

We Hereby Express Our Sincere Appreciation to
SPC THOMAS ROBERTSON :

| | oo of Dour Outstanding Support to the Security force
; el 3 of the ee :
820th Expeditionary RED HORSE Squadron

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RICARDA R. MCCRARY, CMSgt, USAF

Commander, 820 ERHS, Nicaragua Command Chief , 820 ERHS, Nicarag

Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 24 of 38
Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 25 of 38

2-183d CAVALRY

CERTIFICATE OF ACHIEVEMENT

LET IT BE KNOWN

SPC THOMAS ROBERTSON

Served as a member of TASK FORCE SABER
deployed in support of Operation Iraqi Freedom
September 2007— May 2008

Lf lsd Pete

Walter L. Mercer
LTC, IN
Commander

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FORM 4980-14, NOV 97

DEPARTMENT OF THE ARMY

THIS IS TO CERTIFY THAT THE SECRETARY OF THE ARMY HAS AWARDED

THE ARMY COMMENDATION MEDAL

TO SPECIALIST THOMAS J. ROBERTSON
2-183D CAVALRY SQUADRON

FOR MERITORIOUS ACHIEVEMENT AS A SNIPER IN SUPPORT OF OPERATION IRAQI FREEDOM. HIS
DEDICATION TO DUTY, SELFLESS SERVICE AND KNOWLEDGE WERE INSTRUMENTAL IN THE
TRAINING OF KUWAITI COMMANDOS ON SNIPER TECHNIQUES. | SPECIALIST ROBERTSON’S
PERFORMANCE OF DUTY IS IN KEEPING WITH THE FINEST TRADITIONS OF MILITARY SERVICE AND

REFLECT GREAT CREDIT UPON HIM, HIS UNIT, AREA SUPPORT GROUP-KUWAIT AND THE UNITED
STATES ARMY.

FROM: 27 JANUARY 2008 TO: 4 MARCH 2008

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THIS 28T4 DAY OF APRIL 2008

PO 119-5, 28 April 08

Commander, Area Support Group-Kuwait

JOHN S. ALEXANDER
APO AE 09366

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RECOMMENDATION FOR AWARD
Case 1:21-cP CERAM SCaRCsee DOE Uhet i poposent FufaRy IN7979G792 Page 29 of 38

For valor/heroism/wartime and all awards higher than MSM, refer to special instructions in Chapter 3, AR 600-8-22.

1.TO 2. FROM 3. DATE (YYYYMMDD)
CDR, ASG-KU CDR, 2-183D CAV
APO, AE 09366 APO, AE 09330 HL0§ 013 |}
PART | - SOLDIER DATA
4. NAME (Last, First, Middie Initial) 5. RANK 6. SSN
ROBERTSON, THOMAS J SPC XXX-XX-XXXX
7. ORGANIZATION 8. PREVIOUS AWARDS
C-TROOP 2-183D CAV AAM-2
APO, AE 09330
9. BRANCH OF SERVICE 10. RECOMMENDED AWARD 11. PERIOD OF AWARD
a, FROM b. TO
ARCOM 20080127 20080304
12. REASON FOR AWARD
12a. INDICATE REASON 12b. INTERIM AWARD | | YES Xx! NO 12c. POSTHUMOUS 13, PROPOSED PRESENTATION DATE
IF YES, STATE AWARD GIVEN _ (YYYYMMDD)
ACH Yes | | No >] 20080501
PART II - RECOMMENDER DATA
14. NAME (Last, First, Middle Initial) 15. ADDRESS
MERCER, WALTER L HQ 2-183D CAV
16. TITLE/POSITION 17. RANK APO, AE 09330
SCO LTC
18. RELATIONSHIP TO AWARDEE 19. SIGNATU
COMMANDER ALLE A Are.

PART Ill - JUSTIFICATION AND CITATION DATA (Use specific bullet examples of meritorious acts or service)

20. ACHIEVEMENTS

ACHIEVEMENT #1

SPC Robertson served as an instructor for two Sniper training courses for the Kuwaiti Commando Brigade, resulting in 12 Kuwaiti
Commandos being trained on Sniper operations and able to engage targets out to 1200 meters. His contributions to the course were
instrumental to the successful completion of the course.

ACHIEVEMENT #2,

SPC Robertson's knowledge of ballistics and shooting allowed him to train the technical subject of ballistics to the Commando Brigade,
even though all classes had to be taught through an interpreter. His ability to interact with Soldiers that did not speak English directly
contributed to the success of each day of training which allowed contribution toward promoting opportunities for U.S. and Kuwaiti
Forces to work together and share experiences and information.

ACHIEVEMENT #3

SPC Robertson was instrumental in developing the POI for the 7.62mm Sniper training. The formula for range estimation, wind
computation and scope adjustments had to be converted from an imperial measurement system to metric measurement system. He spent
several off duty hours researching arid developing formulas and charts for the Kuwaiti trainees.

ACHIEVEMENT #4

SPC Robertson's in-depth knowledge of firearms and long range shooting allowed him to train soldiers on weapon systems he had never
seen until the first day of class. During the classroom set-up, he studied the manuals for the rifle and scope and completed the POI prior
to the class beginning.

21, PROPOSED CITATION

MERITORIOUS ACHIEVEMENT AS A SNIPER DEPLOYED WITH THE 2-183D CAVALRY SQUADRON IN SUPPORT OF
OPERATION IRAQI FREEDOM. HIS DEDICATION TO DUT Y, SELFLESS SERVICE, AND KNOWLEDGE WERE INSTRUMENTAL
TO TRAINING 12 KUWAITI COMMANDOS ON SNIPER TECHNIQUES. HIS ABILITY TO PLAN AND EXECUTE TRAINING
ABOVE HIS LEVEL OF EXPERIENCE ARE IN KEEPING WITH THE FINEST TRADITIONS OF THE MILITARY SERVICE AND
REFLECT GREAT CREDIT UPON HIM, 2-183D CAVALRY, AREA SUPPORT GROUP KUWAIT, THE VIRGINIA ARMY NATIONAL
GUARD, AND THE UNITED STATES ARMY.

DA FORM 638. APR 2006 REPLACES DA FORM 636-1. Page 1 of 3
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IRM 4980-18, NOV 97

DEPARTMENT OF THE ARMY

THIS IS TO CERTIFY THAT THE SECRETARY OF THE ARMY HAS AWARDED

THE ARMY ACHIEVEMENT MEDAL

SPECIALIST THOMAS J. ROBERTSON

TO C-TROOP 2-183D CAVALRY

nt MERITORIOUS SERVICE AS DRIVER AND GUNNER DEPLOYED WITH THE 2-183D CAVALRY SQUADRON IN

SUPPORT OF OPERATION IRAQI FREEDOM. HIS DEDICATION TO DUTY, SELFLESS SERVICE, AND
LEADERSHIP WERE TANTAMOUNT TO SECURING THE MAIN SUPPLY ROUTE IN TO AND OUT OF IRAQ FROM
HOSTILE FORCES ACTION AND CONTRIBUTING TO 2-183D CAVALRY'S SUCCESSFUL MISSION. HIS ABILITY
TO PLAN AND EXECUTE MISSIONS ABOVE HIS SKILL LEVEL ARE IN KEEPING WITH THE FINEST TRADITIONS
OF THE MILITARY SERVICE AND REFLECT GREAT CREDIT UPON HIM, 2-183D CAVALRY, AREA SUPPORT
GROUP KUWAIT, THE VIRGINIA ARMY NATIONAL GUARD, AND THE UNITED STATES ARMY.

FROM: 15 SEPTEMBER 2007 TO: 1 MAY 2008

THIS 1ST DAY OF MAY 2008

MiGs Jaiaiaing

Permanent Order 074-142 Walter L. Mercer

“HO, 2-183D CAVALRY
APO, AE 09330

LTC, IN
Commanding

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RECOMMENDATION FOR AWARD
Case 1:21-+GiHnRO Gab fori Gee ARGOLBVE tile drdpbnént ddiQUsBELE/22 Page 33 of 38

For valor/heroism/wartime and all awards higher than MSM, refer to special instructions in Chapter 3, AR 600-8-22.

TO 2. FROM 3. DATE (YYYYMMDD)
CDR, 2-183D CAV CDR TRP C, 2-183D CAV
APO AE 09330 APO AE 09330 20080308
PART 1-SOLDIER DATA
4. NAME (Last First, Midale Initial) 5. RANK 6. SSN
ROBERTSON, THOMAS J SPC XXX-XX-XXXX
7. ORGANIZATION 8. PREVIOUS AWARDS
C TRP 2-183D CAV AAM-2
APO AE 09330
9. BRANCH OF SERVICE 10. RECOMMENDED AWARD 11, PERIOD OF AWARD
a. FROM b. TO
AAM 20LC 20070919 20080516
12. REASON FOR AWARD
72a, INDICATE REASON 12b. INTERIM AWARD [YES S</NO__| 12c. POSTHUMOUS 13. PROPOSED PRESENTATION DATE
IF YES, STATE AWARD GIVEN — (Raa BED)
SVC YES |_|] No X 20080607
PART II - RECOMMENDER DATA
74. NAME (Last, First, Middle Initial) 15. ADDRESS
JONES, DANIEL C TRP 2-183D CAV
16. TITLE/POSITION 17. RANK APO AE 09330
TROOP COMMANDER CPT
78. RELATIONSHIP TO AWARDEE 1. SIGN RE ——>
COMMANDER JONES. DANIEL, STUART, 1063699167?

PART III - JUSTIFICATION AND CITATION DATA (Use specific bullet examples of meritorious acts or service)
20. ACHIEVEMENTS
ACHIEVEMENT #1
SPC Robertson operated an M1151 gun truck on over 120 combat patrols in Iraq totaling over 25,000 miles of travel without any
accidents or injuries occurring. This was done through attentive and safe driving practices utilized while operating the M1151 gun truck.

ACHIEVEMENT #2
SPC Robertson strongly contributed to his route security element's finding of over 60 pieces of Unexploded Ordinance. He also
contributed to his route security element's creation of safe passage for all convoys that travel through 2-183d CAV's AO, In Iraq, without

receiving any hostile action.

ACHIEVEMENT #3
SPC Robertson serves as the Platoon's internal firearms and weapons expert. His vast knowledge of firearms has been utilized
extensively in trouble shooting weapons malfunctions, issues, and use.

ACHIEVEMENT #4
Selected onto the Troop sniper team for his shooting abilities and tactical knowledge. Additionally, SPC Robertson volunteered his
knowledge of sniper and shooting tactics that he uses as a Police Officer on the SWAT sniper team to train the Kuwaiti military.

21. PROPOSED CITATION

MERITORIOUS SERVICE AS DRIVER AND GUNNER DEPLOYED WITH THE 2-183D CAVALRY SQUADRON IN SUPPORT OF
OPERATION IRAQI FREEDOM. HIS DEDICATION TO DUTY, SELFLESS SERVICE, AND LEADERSHIP WERE TANTAMOUNT TO
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CAVALRY, AREA SUPPORT GROUP KUWAIT, THE VIRGINIA ARMY NATIONAL GUARD, AND THE UNITED STATES ARMY.

DA FORM 638, APR 2006 REPLACES DA FORM 696-1, Page 1 of 3
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m= TASK FORCE PATRIOT

OPERATION ENDURING FREEDOM

THIS CERTIFICATE

IS PRESENTED TO
TJ. ROBERTSON
15 SEPTEMBER 2011

FOR EXCEPTIONAL SUPPORT DURING OPERATION ENDURING FREEDOM XiIL
YOUR EXPERTISE AND GUIDANCE WAS INSTRUMENTAL IN THE TRAINING AND
MENTORSHIP OF THE AFGHAN UNIFORM POLICE AND SIGNIFICANTLY IMPACTED
THEIR. ABILITY TO DEVELOP INTO A PROFESSIONAL AND EFFECTIVE SECURITY i *
FORCE YOUR. DEDICATION AND PROFESSIONALISM REFLECTS GREAT CREDIT 5 yy :
UPON YOU, YOUR. ORGANIZATION, #% BRIGADE 10™ MTN DIV (LD, AND THE "Wate

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UX STEVEN L. WOMACK » =? BRUCEP ANTONIA

CSM, US ARMY ai COLONOL, US ARMY

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Case 1:21-cr-00034-CRC Document 121-3 Filed 07/28/22 Page 37 of 38

CERTIFICATE OF APPRECIATION

yas gol gs
SPC. THOMAS ROBERTSON

THANK YOU FOR YOUR HARD WORK AND DEDICATION
TO DUTY.

YOUR PROFESSIONALISM AND SUPPORT OF THE
25™ COMMANDO BRIGADE OF THE KUWAITI ARMY
HAS GREATLY

INCREASED OUR COMBAT CAPABILITY.

ant Colonel
attalion Commander

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